                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

LAWRENCE ALEXANDER JR., ELLIS      )
ALLEN, MITCHELL ALSTON, FRANCES R. )
BANKS, AHMED BLAKE, MICHAEL O.     )
BRODIE, KEVIN E. CHANDLER,         )
CHARLES E. CHERRY, ERNEST          )
CUTHBERTSON, DARRIN DAVIS,         )
STEVEN A. EVANS, WILLIAM GRAVES,   )
MILFORD J. HARRIS II, JONATHAN     )
HEARD, ANTUAN HINSON, STEPHEN L.   )
HUNTER, BRIAN JAMES, DEMETRIUS     )
W. JOHNSON, JOHN O. LEGRANDE,      )
GEORGE M. LITTLE, DARRELL          )
MCDONALD, C.L. MELVIN, STACY A.    )
MORTON JR., WILLIE PARKER, LARRY   )
PATTERSON JR., WILLIAM A. PHIFER, )
JOSEPH PRYOR, NORMAN RANKIN,       )
WAYNE REDFERN, ALEXANDER RICKETTS, )
RONALD ROGERS, STEVEN SNIPES,      )
CALVIN STEVENS JR., ERIC           )
STEVENSON, JERMEIR JACKSON-STROUD, )
JULIUS TUNSTALL, ALLEN WALLACE,    )
FRANK YOUNG and MICHAEL WAYLAND    )
WALL,                              )
                                   )
          Plaintiffs,              )
                                   )
     v.                            )                1:09-CV-934
                                   )
THE CITY OF GREENSBORO,            )
                                   )
          Defendant.               )

                       MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, District Judge.

    Before       the   court   is     the     motion   for    judgment       on   the

pleadings   of    Defendant    The     City    of   Greensboro       (“the    City”)

pursuant to Federal Rule of Civil Procedure 12(c).                     (Doc. 29.)




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Plaintiffs oppose this motion.            (Doc. 37.)         For the reasons set

forth below, the motion will be denied.

I.     BACKGROUND

       Plaintiffs are all African-American/black police officers

employed by the City through the Greensboro Police Department

(“GPD”) when David Wray (“Wray”) was promoted to Chief of Police

and Gilmer Brady (“Brady”) to Deputy Chief.                  Both Wray and Brady

are white.

       Plaintiffs    commenced     this       action    on    December     7,   2009,

bringing claims against the City for discrimination on the basis

of race in violation of Title VII of the Civil Rights Act of

1964 (as amended), 42 U.S.C. § 2000e et seq. (“Title VII”),

based upon alleged discriminatory actions taken or directed by

Wray,    Brady,   and   other     nonblack      GPD     officers.1        (Doc.   1.)

Plaintiffs filed an Amended Complaint on March 15, 2010.                        (Doc.

4.)     This court‟s January 4, 2011 Memorandum Opinion and Order

contains a detailed summary of the Amended Complaint‟s factual

allegations, which will not be repeated here.                    See Alexander v.

City of Greensboro, No. 1:09-CV-934, 2011 WL 13857, at *1-*3

(M.D.N.C. Jan. 4, 2011).

1
    In a companion action removed to this court on April 17, 2009,
Plaintiffs brought claims against the City, Wray, Brady, GPD Officer
Scott Sanders, and Greensboro City Council member Trudy Wade under 42
U.S.C. §§ 1981, 1983, and 1985(3), as well as North Carolina contract
and tort law. (Case No. 1:09-CV-293.) On January 5, 2011, the court
dismissed all claims against the City except Plaintiffs‟ breach-of-
contract claim. See Alexander v. City of Greensboro, 762 F. Supp. 2d
764, 825 (M.D.N.C. 2011).

                                          2



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       The City moved to dismiss the Amended Complaint pursuant to

Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).                            (Doc.

7.)     The motion was granted in part and denied in part: all

Title VII claims by Plaintiffs Ahmed Blake, Larry Patterson Jr.,

Frank       Young,    Darryl   Stevenson,       and      Mitchell      Alston       were

dismissed, and all Title VII claims by the remaining thirty-five

Plaintiffs were dismissed except (1) each remaining Plaintiff‟s

hostile work environment claim, (2) Plaintiff Steven A. Evans‟

disparate treatment claim, and (3) Plaintiff Lawrence Alexander

Jr.‟s disparate treatment claim.               See Alexander, 2011 WL 13857,

at *23.

       The    City    subsequently     filed    an     Answer     to   the    Amended

Complaint (Doc. 21) and now moves for judgment on the pleadings

pursuant to Federal Rule of Civil Procedure 12(c) (Doc. 29).

This motion has been fully briefed (Docs. 30, 37, 38) and is

ready for decision.

II.    ANALYSIS

       A.     Standard for Rule 12(c) Motions

       A motion for judgment on the pleadings pursuant to Federal

Rule    of    Civil    Procedure   12(c)       is    analyzed     under      the    same

standard as a motion to dismiss for failure to state a claim

under Federal Rule of Civil Procedure 12(b)(6).                        See Burbach

Broad. Co. of Del. v. Elkins Radio Corp., 278 F.3d 401, 405-06

(4th    Cir.     2002).        Thus,   the     court      assumes      the     factual

                                         3



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allegations in the Amended Complaint to be true and draws all

reasonable       factual      inferences         in    Plaintiffs‟        favor     as     the

nonmoving parties.           See id. at 406.

    Unlike on a Rule 12(b)(6) motion, however, on a Rule 12(c)

motion the court may consider the Answer as well.                                Rinaldi v.

CCX, Inc., No. 3:05-CV-108, 2008 WL 2622971, at *2 n.3 (W.D.N.C.

July 2, 2008).        The factual allegations of the Answer “are taken

as true only where and to the extent they have not been denied

or do not conflict with the complaint.”                       Jadoff v. Gleason, 140

F.R.D. 330, 331 (M.D.N.C. 1991).                       “For the purposes of this

motion    [the     defendant]       cannot       rely    on      allegations       of     fact

contained only in the answer, including affirmative defenses,

which contradict [the] complaint,” because “Plaintiffs were not

required to reply to [the] answer, and all allegations in the

answer are deemed denied.”               Id. at 332; see Fed. R. Civ. P.

8(b)(6)    (“If       a   responsive       pleading         is     not     required,       an

allegation is considered denied or avoided.”).

    “The       test    applicable     for        judgment     on    the    pleadings       is

whether or not, when viewed in the light most favorable to the

party    against      whom    the   motion        is    made,      genuine       issues    of

material fact remain or whether the case can be decided as a

matter    of   law.”       Smith    v.   McDonald,        562      F.    Supp.    829,     842

(M.D.N.C. 1983), aff‟d, 737 F.2d 427 (4th Cir. 1984), aff‟d, 472

U.S. 479 (1985); accord Med-Trans Corp. v. Benton, 581 F. Supp.

                                             4



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2d    721,   728    (E.D.N.C.       2008);     Jadoff,      140    F.R.D.     at     331;    5C

Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 1368, at 223 (3d ed. 2004); see id. § 1368, at 248

(“A motion for judgment on the pleadings under Rule 12(c) may be

granted      only   if     all    material     issues      can    be   resolved       on    the

pleadings by the district court . . . .”).

       B.     Plaintiffs’ Rule 12(g)(2) Argument for Summary Denial

       Plaintiffs        argue     preliminarily           that   the       City‟s    motion

should be summarily denied pursuant to Federal Rule of Civil

Procedure 12(g)(2), which provides:

       Except as provided in Rule 12(h)(2) or (3), a party
       that makes a motion under this rule must not make
       another motion under this rule raising a defense or
       objection that was available to the party but omitted
       from its earlier motion.

Fed. R. Civ. P. 12(g)(2).               Plaintiffs argue that the City‟s Rule

12(c) motion falls squarely within this prohibition, because the

defenses      raised       in     the   Rule       12(c)     motion     were       allegedly

available      when      the     City   filed      its     Rule   12(b)(6)      motion      to

dismiss, but the City chose not to raise them at that time.                                 The

City responds that Rule 12(g)(2) does not apply to Rule 12(c)

motions and that the arguments in the pending motion were not

available to the City at the Rule 12(b)(6) stage.

       As    the    City    points      out,    Rule     12(g)(2)      begins      with     the

phrase “[e]xcept as provided in Rule 12(h)(2) or (3).”                                     Rule

12(h)(2) provides in pertinent part:

                                               5



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       Failure to state a claim upon which relief can be
       granted . . . may be raised . . . by a motion under
       Rule 12(c) . . . .

Fed.   R.    Civ.   P.    12(h)(2)(B).           Thus,    Rule   12(c)     motions     for

judgment on the pleadings based upon failure to state a claim

are explicitly exempted from the prohibition in Rule 12(g)(2).2

Cf. Tatum v. R.J. Reynolds Tobacco Co., No. 1:02-CV-373, 2007 WL

1612580, at *6 (M.D.N.C. May 31, 2007) (“Taken together, Rules

12(g) and 12(h)(2) prohibit Defendants from filing a successive

Rule 12(b)(6) motion unless it is included in their answer or in

a   Rule    12(c)     motion      after     pleadings     are    closed.”      (emphasis

added)).

       The only case law cited by Plaintiffs in support of their

argument is inapplicable, because it involves successive motions

brought pursuant to Rule 12(b).                    See Partington v. Am. Int‟l

Specialty     Lines      Ins.     Co.,    No.    1:03-CV-1084,      Doc.     15   at   1-2

(M.D.N.C. May 18, 2004); cf. Wright & Miller, supra, § 1384, at

479-80      (“[Rule      12(g)]     contemplates         the    presentation      of      an

omnibus pre-answer motion in which the defendant advances every

available Rule 12 defense and objection he may have that is

assertable by motion. . . . Any defense that is available at the

time of the original motion, but is not included, may not be the

basis of a second pre-answer motion.” (emphases added)).

2
   To the extent the City‟s pending motion also raises a question of
subject matter jurisdiction (see infra note 5), it is exempted from
the Rule 12(g)(2) prohibition pursuant to Rule 12(h)(3).

                                             6



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    Therefore, Rule 12(g)(2) does not bar the City‟s Rule 12(c)

motion, and it is unnecessary to determine whether the City‟s

present arguments were available at the Rule 12(b)(6) stage.

Consequently, the court will proceed to the merits of the City‟s

motion.    In so doing, however, the court will not reconsider

issues that it addressed fully at the Rule 12(b)(6) stage.

    C.     The City’s Arguments for Dismissal

    The City presents three arguments in support of its motion

for judgment on the pleadings: (1) Eleven Plaintiffs did not

satisfy the prerequisites for a Title VII suit, because they did

not file a proper Charge of discrimination (“Charge”) with the

Equal     Employment      Opportunity            Commission        (“EEOC”         or

“Commission”); (2) two of these Plaintiffs, even if they filed

proper    Charges,   filed     them    outside     the   applicable       180-day

limitations     period;      and      (3)   all      thirty-five        remaining

Plaintiffs‟ claims should be dismissed under the doctrine of

laches, because Plaintiffs were not diligent in pursuing their

claims and the City was prejudiced as a result.                    Each argument

will be examined in turn.

           1.    Whether the Eleven Plaintiffs Filed Charges of
                 Discrimination

    The City argues that eleven Plaintiffs did not file Charges

of discrimination with the EEOC and thus failed to satisfy the




                                        7



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prerequisites for a Title VII action.3                        These Plaintiffs respond

that the evidence presented by the City cannot be considered at

the     Rule    12(c)        stage     and,    alternatively,            that    the    Intake

Questionnaires          Plaintiffs       submitted           to   the    EEOC    constituted

sufficient Charges of discrimination.

       The City‟s argument for judgment on the pleadings relies

upon over 4,000 pages of documents that it obtained from the

EEOC pursuant to Freedom of Information Act requests and that

the City attached to its Answer.                       (Doc. 21, Exs. A to II.)             The

City    argues        that   these     documents         constitute      the     entire    EEOC

files    for     all    thirty-five       Plaintiffs          (minus     certain       internal

EEOC    communications          that    are    deliberative         in    nature,       certain

personal        information          about         third      parties,          and    certain

settlement-related information) (see, e.g., Doc. 21 ¶ 45; Doc.

21, Ex. A at 2-4; Doc. 21, Ex. C at 2-4; Doc. 21, Ex. L-1 at 2-

5)     and     that     these    files        do       not   contain     any     Charges       of

discrimination for the eleven Plaintiffs at issue.                                    The City

contrasts this with the presence of                           “formal”     Charges in       the

files of the remaining twenty-four Plaintiffs.                                 (Compare Doc.

21, Exs. A to K (containing no “formal” Charges), with Doc. 21,

Exs. L to II (containing “formal” Charges).)                             As a consequence,

the City argues, the Title VII claims of the eleven Plaintiffs
3
   The eleven Plaintiffs at issue are Ernest Cuthbertson, Steven A.
Evans, George M. Little, Darrell McDonald, C.L. Melvin, Willie Parker,
William A. Phifer, Joseph Pryor, Norman Rankin, Calvin Stevens Jr.,
and Michael Wayland Wall.

                                                   8



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should    be     dismissed       for   failure        to     file     Charges        of

discrimination with the EEOC.               See generally Jones v. Calvert

Grp.,    Ltd.,   551   F.3d   297,     300    (4th    Cir.    2009)    (“Before      a

plaintiff may file suit under Title VII . . . he is required to

file a charge of discrimination with the EEOC.”).

      It is doubtful whether, as a procedural matter, the court

may draw the inference the City urges.                True, a court deciding a

Rule 12(c) motion may consider documents attached to the Answer,

see, e.g., Bradley v. Ramsey, 329 F. Supp. 2d 617, 622 (W.D.N.C.

2004), so long as they are central to the plaintiff‟s claim and

of undisputed authenticity, see, e.g., Lefkoe v. Jos. A. Bank

Clothiers, No. 06-CV-1892, 2008 WL 7275126, at *3-*5 (D. Md. May

13, 2008) (citing Horsley v. Feldt, 304 F.3d 1125, 1134-35 (11th

Cir. 2002), for this holding).4

      Here, however, the City‟s argument rests not upon the EEOC

documents attached to the City‟s Answer but upon what is missing
4
   See also, e.g., Colonial Trading, LLC v. Basset Furniture Indus.,
Inc., No. 5:09-CV-43, 2010 WL 5071174, at *2 (W.D.N.C. Dec. 7, 2010)
(citing Horsley for this holding); Farmer v. Wilson Hous. Auth., 393
F. Supp. 2d 384, 386 (E.D.N.C. 2004) (same). See generally Philips v.
Pitt Cnty. Mem‟l Hosp., 572 F.3d 176, 180 (4th Cir. 2009) (holding
that on a Rule 12(b)(6) motion to dismiss, the court may consider
documents attached to the motion if they are “integral to the
complaint and authentic”); Horsley, 304 F.3d at 1134-35 (holding that
these same requirements “must apply for Rule 12(c) purposes to
documents attached to answers just as [they apply] for Rule 12(b)(6)
purposes to documents attached to motions to dismiss,” because
“[o]therwise, the conversion clause of [Federal Rule of Civil
Procedure 12(d)] would be too easily circumvented and disputed
documents attached to an answer would have to be taken as true at the
pleadings stage”); 5A Wright & Miller, supra, § 1327, at 439, 442
(“[L]engthy or numerous exhibits containing extraneous or evidentiary
material should not be attached to the pleadings.”).

                                        9



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from    them,      and    Plaintiffs         dispute        whether      these      attachments

“represent all of the information provided by these Plaintiffs

to the EEOC in support of their charges” (Doc. 37 at 5-6).

Thus, it is doubtful on this record whether the court may assume

the completeness of these 4,000 pages pursuant to a motion for

judgment      on    the    pleadings.           Cf.    Jadoff,        140     F.R.D.       at   332

(“[A]ll allegations in the answer are deemed denied [where no

reply was required].”); Smith, 562 F. Supp. at 842 (“The test

applicable for judgment on the pleadings is whether or not, when

viewed in the light most favorable to the [nonmoving party],

genuine issues of material fact remain or whether the case can

be decided as a matter of law.”).5

       Even     assuming         the    court    may    consider         all       4,000    pages

submitted      by   the     City       and   draw     the    inference        it    urges,      the

eleven Plaintiffs contend that the City‟s motion should still be

denied,       because      within        the    City‟s        attachments          are     Intake

Questionnaires           these    Plaintiffs         submitted      to      the    EEOC.        The

eleven     Plaintiffs        contend         that     their      Intake        Questionnaires




5
   To the extent the City implies that by failing to file Charges the
eleven Plaintiffs have failed to exhaust their administrative remedies
under Title VII, this may raise a question of subject matter
jurisdiction, see Jones, 551 F.3d at 300, which would permit the court
to consider all relevant evidence without converting the proceeding to
one for summary judgment, see Adams v. Bain, 697 F.2d 1213, 1219 (4th
Cir. 1982). However, the City‟s briefs do not explicitly advance such
an argument.

                                                10



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constituted     sufficient       Charges     of     discrimination       and      thus

satisfied the prerequisites of Title VII.6

       Title VII requires an employee alleging discrimination to

exhaust his administrative remedies prior to filing an action in

federal court.       See Jones, 551 F.3d at 300 (“[A] failure by the

plaintiff to exhaust administrative remedies concerning a Title

VII    claim   deprives    the     federal        courts     of   subject      matter

jurisdiction over the claim.”).            The first step is the filing of

a Charge of discrimination with the EEOC “by or on behalf of a

person    claiming    to   be    aggrieved,        or   by    a   member    of    the

Commission.”     42 U.S.C. § 2000e-5(b).             Upon receiving a Charge,

the EEOC must provide notice of the Charge to the employer,

investigate the validity of the claim, and, if the claim proves

valid, attempt to remedy the discrimination through “informal

methods of conference, conciliation, and persuasion.”                       Id.      If

these efforts fail and the EEOC elects not to bring a lawsuit

against the employer, the employee receives notice of his right

to sue and has ninety days to file a Title VII action.                             Id.

§ 2000e-5(f)(1).

       Title VII requires only that EEOC Charges “be in writing

under oath or affirmation” and “contain such information and be

in such form as the Commission requires.”                     Id. § 2000e-5(b).
6
     Plaintiffs do not dispute the authenticity of these Intake
Questionnaires and concede that they may be considered at this
juncture, even if the City‟s remaining attachments may not. (See Doc.
37 at 5 & n.2.)

                                      11



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The    EEOC‟s    regulations       require    that    a   Charge      “shall      be   in

writing and signed and shall be verified.”                   29 C.F.R. § 1601.9.

Moreover, a Charge should contain (1) the name, address, and

telephone number of the employee; (2) the name and address of

the employer; (3) a “clear and concise statement of the facts,

including        pertinent         dates,     constituting            the        alleged

[discrimination]”; and (4) the approximate number of employees

of    the   employer.7       Id.    §   1601.12(a)(1)-(4).            Despite      these

specific requirements, however, “a charge is sufficient when the

Commission receives from the person making the charge a written

statement sufficiently precise to identify the parties, and to

describe generally the action or practices complained of.”                             Id.

§ 1601.12(b).

        Here,   the      eleven     Plaintiffs       each     filed         an    Intake

Questionnaire with the EEOC between July 26, 2005, and May 5,

2006.8      (See Doc. 21, Ex. A at 14-23; Doc. 21, Ex. B at 15-23;

7
    The Charge should also disclose whether proceedings have been
commenced before a state or local agency charged with the enforcement
of fair employment practice laws.     29 C.F.R. § 1601.12(a)(5). This
requirement is only relevant in “deferral states,” however, and North
Carolina is a “deferral state” only in limited circumstances not
applicable here.    See Bratcher v. Pharm. Prod. Dev., Inc., 545 F.
Supp. 2d 533, 539-43 (E.D.N.C. 2008).
8
   These Intake Questionnaires were filed noticeably earlier than the
Charges of the remaining twenty-four Plaintiffs, the earliest of which
were filed on May 10, 2006, and eighteen of which were not filed until
on or after July 25, 2006.     (See Doc. 21, Exs. L to II.)     In its
earlier Rule 12(b)(6) motion, the City challenged the timeliness of
these eighteen Charges, but the court denied this aspect of the motion
without prejudice because the facts necessary to the City‟s
limitations argument did not clearly appear on the face of the Amended

                                         12



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Doc. 21, Ex. C at 14-22; Doc. 21, Ex. D at 14-21; Doc. 21, Ex. E

at 15-23; Doc. 21, Ex. F at 14-22; Doc. 21, Ex. G at 15-23; Doc.

21, Ex. H at 14-22; Doc. 21, Ex. I at 18-27; Doc. 21, Ex. J at

14-23; Doc. 21, Ex. K at 7-15.)              Each Intake Questionnaire was

in writing and contained a signed declaration “under the penalty

of perjury that the information provided in this questionnaire

is true and correct.”              (See, e.g., Doc. 21, Ex. A at 23.)

Moreover, each Intake Questionnaire              contained      the information

required by 29 C.F.R. § 1601.12(a)(1)-(4).9               (See, e.g., Doc. 21,

Ex. E at 15-17.)       Therefore, the Intake Questionnaires satisfied

the explicit requirements for a Charge found in the applicable

statute and regulations.

        It is also apparent         that the     EEOC    treated these eleven

Intake     Questionnaires    as     Charges,     which    is    permissible,            as

Plaintiffs note, under Federal Express Corp. v. Holowecki, 552

U.S.     389   (2008).10     The    EEOC    assigned     each      of     the   eleven


Complaint or the Charges themselves.         See Alexander, 2011 WL 13857, at
*8.
9
   The Intake Questionnaire of Norman Rankin did not include the number
of employees of the GPD (see Doc. 21, Ex. I at 19), but this is not
essential according to 29 C.F.R. § 1601.12(b).
10
    In Holowecki, the EEOC did not treat the relevant plaintiff‟s
Intake Questionnaire as a Charge, give the plaintiff an EEOC Charge
Number, provide the employer with notice of the Intake Questionnaire,
or engage in any informal conciliation efforts. See 552 U.S. at 400,
407; id. at 408 (Thomas, J., dissenting).      The plaintiff‟s later
“formal” Charge was untimely, but the Supreme Court held that her
Intake Questionnaire should be deemed her Charge for timeliness
purposes, adopting and applying the EEOC‟s proposed rule that to be
deemed a Charge, a filing “must be reasonably construed as a request

                                       13



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Plaintiffs an EEOC Charge Number and sent a “Notice of Charge of

Discrimination” to the City in connection with each Plaintiff,

stating that “a charge of employment discrimination has been

filed against your organization” and indicating that the Charge

alleged discrimination based on “Race.”11              (See, e.g., Doc. 21,

Ex. A at 12; see also, e.g., id. at 5.)              In each case, the EEOC

made a determination that the Plaintiff‟s claim was sufficiently

valid to merit conciliation efforts (see, e.g., id. at 7-8),

provided notice when conciliation efforts were deemed to have

failed (see, e.g.,        id.     at 6), and subsequently referred the

claim to the United States Department of Justice (see, e.g.,

id.).12     Plaintiffs allege that they all “received right-to-sue




for the agency to take remedial action to protect the employee‟s
rights or otherwise settle a dispute between the employer and the
employee.” Id. at 402 (majority opinion); see id. at 404, 406. The
Court expressed concern that requiring less of a Charge would force
local EEOC offices to treat almost any information received from an
employee as a Charge, triggering notice to the employer, conciliation
efforts, etc., and potentially impairing the EEOC‟s ability to provide
answers to mere informational requests and offer pre-Charge-filing
counseling. Id. at 400-01.
11
    Substantial time elapsed between Plaintiffs‟ filing of the Intake
Questionnaires and the EEOC‟s notice to the City.      Ordinarily, the
EEOC is required to provide an employer with notice of a Charge within
ten days of the Charge‟s filing date. 42 U.S.C. § 2000e-5(b), (e)(1).
Delay by the EEOC in performing this statutory duty should not be held
against Plaintiffs in this situation, however.        See Edelman v.
Lynchburg Coll., 300 F.3d 400, 404 (4th Cir. 2002) (“Once a valid
charge has been filed, a simple failure by the EEOC to fulfill its
statutory duties regarding the charge does not preclude a plaintiff‟s
Title VII claim.”).
12
   If the employer is a “government, governmental agency, or political
subdivision,” the EEOC must give the United States Attorney General

                                       14



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letters from the United States Department of Justice 90 days or

less before the institution of this lawsuit” (Doc. 4 ¶ 45), and

the City has not challenged this allegation as to the eleven

Plaintiffs.

      Without    addressing        the     merits      of    whether          the   eleven

Plaintiffs‟ Intake Questionnaires can constitute Charges under

Holowecki, the City contends that Plaintiffs are prohibited from

making this argument         because      they neither           alleged      it    in the

Amended Complaint nor themselves produced evidence to support

it.   The City argues that permitting Plaintiffs to rely now upon

the   Intake    Questionnaires,           submitted         by    the     City,      would

constitute an impermissible amendment of the Amended Complaint.

Under the City‟s logic, each Plaintiff relying upon an Intake

Questionnaire    as    his   EEOC    Charge      was    required        to     explicitly

allege this fact in the Amended Complaint and is now barred from

proceeding,     even    though       the       EEOC    considered            the    Intake

Questionnaires    to    be   the    Plaintiffs‟        Charges,         the    Title   VII

administrative    process      was       fully   exhausted,        and        the   Intake

Questionnaires are before the court.                    While it perhaps would

have been more accurate for the eleven Plaintiffs to allege from

the start that they relied upon Intake Questionnaires as their

Charges, the City points to no statute, regulation, or rule



the opportunity to elect whether to bring a lawsuit on behalf of the
aggrieved employee. 42 U.S.C. § 2000e-5(f)(1).

                                          15



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requiring that they do so under the circumstances in this case,

and the court declines to so hold.

      Federal Rule of Civil Procedure 8(a)(2) requires only “a

short and plain statement of the claim showing that the pleader

is entitled to relief.”             Fed. R. Civ. P. 8(a)(2).            Even if this

matter   is    jurisdictional,        Plaintiffs‟        Amended      Complaint    only

needed to contain “a short and plain statement of the grounds

for   the     court‟s    jurisdiction.”          Fed.     R.    Civ.    P.    8(a)(1).

“[W]here      „[n]either      the    complaint     nor   the    amended      complaint

alleges‟      that      the     plaintiff     has        „complied       with     [the]

prerequisites [of Title VII],‟ the plaintiff has not „properly

invoked the court‟s jurisdiction under Title VII.‟”                          Davis v.

N.C. Dep‟t of Corr., 48 F.3d 134, 140 (4th Cir. 1995) (second

alteration in original) (quoting United Black Firefighters of

Norfolk v. Hirst, 604 F.2d 844, 847 (4th Cir. 1979)).                             Here,

Plaintiffs      alleged       that     they   complied         with     Title     VII‟s

prerequisites by filing timely Charges with the EEOC, receiving

right-to-sue letters from the Department of Justice, and filing

their Title VII action within ninety days of those letters.

(See Doc. 4 ¶ 45.)            It is unclear that the precise form of the

Charges must also have been alleged, in light of the variety of

forms Charges may take.             See, e.g., Edelman v. Lynchburg Coll.,

300 F.3d 400, 404-05 (4th Cir. 2002) (holding that a letter sent

to the EEOC could constitute a valid Charge).

                                         16



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       The City relies entirely upon two opinions: Vaughn v. Wal-

Mart, No. 4:10-CV-031, 2010 WL 4608403 (W.D. Va. Nov. 12, 2010);

and Rivera v. Prince William Cnty. Sch. Bd., No. 1:09-CV-341,

2009    WL   2232746    (E.D.    Va.    July   22,   2009).         Both     cases   are

distinguishable,       however,    because     in    each       case   the   plaintiff

attempted to rely upon his Intake Questionnaire (which the EEOC

had never viewed as a Charge) only after it became apparent that

his “formal” EEOC Charge was clearly untimely.

       In Vaughn, the plaintiff attached to his amended complaint

a notice from the EEOC dismissing his Charge as untimely, thus

indicating that it was the relevant Charge in the case.                              See

Amended Complaint, Ex. 1, Vaughn, 2010 WL 4608403 (No. 4:10-CV-

031).    He first mentioned his earlier Intake Questionnaire in a

one-page response brief to the defendant‟s motion to dismiss,

asserting     that     the   filing     date   of    the    Intake     Questionnaire

should save his Title VII action.              See Response to Motion at 1,

Vaughn, 2010 WL 4608403 (No. 4:10-CV-031).                      He failed to provide

his Intake Questionnaire to the court, however, so there were no

facts    about   the     Intake    Questionnaire           in    the   pleadings       or

elsewhere in the record.               The defendant attempted to obtain a

copy of the Intake Questionnaire from the EEOC, but the agency

no longer had a copy.           Vaughn, 2010 WL 4608403, at *2.               Finally,

at a hearing, the plaintiff “[a]stonishingly . . . admitted . .

. that he retained a copy of his intake questionnaire and had it

                                          17



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the whole time.”         Id.        The court held that “[i]f a Plaintiff

seeking   to   avail    himself       of   Holowecki     does     not    produce     the

intake questionnaire he claims was a charge, he has failed to

carry his burden of showing timely filing.”                       Id. at *4.         The

court then deferred to the EEOC‟s determination that the Intake

Questionnaire had not constituted a Charge.                 Id.

      Similarly, in Rivera the defendant moved to dismiss the

plaintiff‟s Title VII action because her “formal” EEOC Charge

was   untimely.        See     Defendant        Prince   William      County    School

Board‟s Memorandum in Support of Its Motion to Dismiss at 10-11,

Rivera,   2009    WL    2232746       (No.      1:09-CV-341).         The   plaintiff

mentioned her Intake Questionnaire for the first time in her

opposition brief,       although       the EEOC had not considered                  it   a

Charge, and she argued that its filing date should save her

claims.   See Plaintiff‟s Opposition to Defendant Prince William

County School Board‟s Motion to Dismiss at 4-5, Rivera, 2009 WL

2232746 (No. 1:09-CV-341).             She did not provide a copy of the

Intake Questionnaire, however, and her complaint contained no

related   allegations,         so    “facts     regarding   the       filing   of    the

Questionnaire [were] not before the Court.”                       Rivera, 2009 WL

2232746, at *4.        The court held that the plaintiff could not use

her opposition brief to “amend her Complaint.”                  Id.

      The present situation is very different from Vaughn and

Rivera.    Here, Plaintiffs alleged that they filed Charges of

                                           18



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discrimination with the EEOC and subsequently received right-to-

sue letters, thus alleging that the EEOC treated whatever they

filed as Charges.             (See Doc. 4 ¶ 45.)              Unlike in Vaughn and

Rivera,       however,    the    Intake        Questionnaires          of    the     eleven

Plaintiffs are before the court, which is considering them as

part of the pleadings at the City‟s request.                         Plaintiffs merely

seek to argue that these same materials do not contradict their

allegation but rather confirm it.                  Moreover, Plaintiffs do not

seek     to     “amend”       their     Amended       Complaint        to     shift     the

identification of their Charges from admitted untimely Charges

to     earlier     ones     never      recognized       as    such      by     the     EEOC.

Plaintiffs‟       present     argument     is    thus      wholly      consistent       with

their allegation.13

        Observing that the applicable statute and regulations were

satisfied, that the EEOC determined the Intake Questionnaires to

be valid Charges, that this determination was not unreasonable

(and     indeed    not    contested       by    the     City),       that     the    Intake

Questionnaires         served    the     purpose      of     Charges    by     triggering

notice     to    the   City    and    initiating      the     required       conciliation

process, and that there is no apparent prejudice to the City,

the court finds that the eleven Plaintiffs at issue are deemed

to have filed Charges of discrimination as required by Title


13
     Even if repleading had been required,                     the   court     would    have
permitted it under these circumstances.

                                           19



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VII.14        Therefore,        the    City‟s      motion     for    judgment     on    the

pleadings based upon these Plaintiffs‟ alleged failure to file

EEOC Charges will be denied.

              2.      Timeliness of EEOC Charges

        The    City     argues        that     even   if      the      eleven   relevant

Plaintiffs‟ Intake Questionnaires constituted proper Charges of

discrimination,         two     of    these     Plaintiffs       —   Steven     A.     Evans

(“Evans”)      and Willie Parker              (“Parker”)     —   did    not file their

Charges in a timely fashion.

        Title VII requires a plaintiff to file his threshold Charge

of discrimination with the EEOC within 180 days of the alleged

discriminatory         act.15         42     U.S.C.   §     2000e-5(e)(1);      EEOC       v.


14
   This result is not inconsistent with the court‟s earlier Memorandum
Opinion and Order, in which the court declined to dismiss these
Plaintiffs‟ claims based upon the City‟s arguments about the
timeliness and scope of their Intake Questionnaires, noting that “the
City has submitted only their EEOC Intake Questionnaires, not their
EEOC charges.” Alexander, 2011 WL 13857, at *9; see id. at *10. The
timeliness and scope of the Intake Questionnaires were relevant only
if the Intake Questionnaires constituted Plaintiffs‟ Charges, but not
if they were merely one step toward the filing of later “formal”
Charges.   It was unclear which of these situations was present, the
Amended Complaint was open to both readings, and the parties‟ briefs
did not clarify the matter. See, e.g., id. at *9 (“The City has not
argued that the Intake Questionnaire constituted Parker‟s EEOC charge
. . . .”); id. at *10 (“The City does not argue that these Intake
Questionnaires constituted the charges of these . . . Plaintiffs.”).
Because all factual inferences had to be drawn in favor of Plaintiffs
at the motion-to-dismiss stage, the court refused to dismiss their
claims based upon documents whose relevance was in question. Now, of
course, the timeliness and scope of the Intake Questionnaires are open
to challenge by the City. See infra Part II.C.2.
15
    The time period is 300 days in a “deferral state.” See 42 U.S.C.
§ 2000e-5(e)(1). North Carolina is a “deferral state,” however, only
in limited circumstances not applicable here.

                                              20



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Commercial Office Prods. Co., 486 U.S. 107, 110 (1988).                   Failure

to timely file an EEOC Charge bars the plaintiff‟s claim in

federal court, McCullough v. Branch Banking & Trust Co., 35 F.3d

127, 131 (4th Cir. 1994), and courts have strictly enforced this

requirement, Tangires v. Johns Hopkins Hosp., 79 F. Supp. 2d

587, 597 (D. Md. 2000), aff‟d, 230 F.3d 1354 (4th Cir. 2000)

(per curiam) (unpublished table decision).               Even claims alleging

a continuous violation of Title VII must allege a discriminatory

act    committed     within    the   limitations        period,     Nat‟l    R.R.

Passenger Corp. v. Morgan, 536 U.S. 101, 117-18 (2002), and

“discrete discriminatory acts are not actionable if time barred,

even   when   they   are   related   to    acts   alleged     in   timely   filed

charges,” id. at 113.

       An untimely filed Charge is not a jurisdictional bar but

rather is “like a statute of limitations, . . . subject to

waiver, estoppel, and equitable tolling.”               Zipes v. Trans World

Airlines, Inc., 455 U.S. 385, 393 (1982).                  The Fourth Circuit

has held in the Rule 12(b)(6) context that “a motion to dismiss

. . . which tests the sufficiency of the complaint, generally

cannot reach the merits of an affirmative defense, such as the

defense that the plaintiff‟s claim is time-barred,” unless “all

facts necessary to the affirmative defense „clearly appear[] on

the face of the complaint.‟”         Goodman v. Praxair, Inc., 494 F.3d

458, 464 (4th Cir. 2007) (en banc) (alteration in original)

                                      21



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(emphasis omitted) (quoting Richmond, Fredericksburg & Potomac

R.R. Co. v. Forst, 4 F.3d 244, 250 (4th Cir. 1993)).                                 “Due to

the     identical         standards     employed,        the   court       will    reach     an

affirmative         defense       through      a    motion     under    Rule       12(c)     in

similarly rare circumstances, with the caveat that the court may

look to the uncontested pleadings as a whole — and not simply

plaintiff‟s         complaint       —   in     determining        whether         all     facts

necessary to deciding the issue clearly appear.”                                  McQuade v.

Xerox Corp., No. 5:10-CV-149, 2011 WL 344091, at *3 (E.D.N.C.

Feb. 1, 2011); see Demetry v. Lasko Prods., Inc., 284 F. App‟x

14,    15-16       (4th    Cir.    2008)     (unpublished        per    curiam      opinion)

(applying      the    Goodman      standard         in   the   Rule    12(c)      context);16

Simpson       v.    Air    Liquide      Am.,       LP,   No.   3:09-CV-172,         2009     WL

2171274, at *1-*2 (W.D.N.C. July 20, 2009) (same).                                 As noted

earlier, the City “cannot rely on allegations of fact contained

only     in    the    answer,       including        affirmative       defenses,          which

contradict         [the]     complaint,”           because     “Plaintiffs         were     not

required to reply to [the] answer, and all allegations in the

answer are deemed denied.”               Jadoff, 140 F.R.D. at 332.

        The City‟s arguments as to the timeliness of Evans‟ and

Parker‟s EEOC Charges will be considered in turn.




16
    Unpublished decisions are not precedential but are cited for their
persuasive authority.

                                               22



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                   a.     Steven A. Evans

     Evans filed his Intake Questionnaire, deemed a Charge by

the EEOC, on August 1, 2005.              (See Doc. 21, Ex. B at 23.)                  He

principally alleged in it that after he was selected to go to

General Instructor School, certain GPD officers held a private

meeting and decided to remove him from the school for racially

discriminatory reasons.            (Id. at 16-18.)          The City points to an

affidavit by Chris Walker, former commanding officer in charge

of the Training Department of the GPD, that it submitted with

its earlier Rule 12(b)(6) motion.                (Doc. 9.)         According to the

affidavit,       Evans    attended    and      completed        General     Instructor

School in October 2004.              (Id. at 1.)            The City argues that

Evans‟ alleged removal from the school must have occurred prior

to October 2004 and thus at least ten months before he filed his

EEOC Charge, well outside the 180-day limitations period.                         Evans

responds   that     the   court     cannot     rely    at   this    stage    upon    the

City‟s affidavit, which raises factual questions.

     In    considering      this    motion     under     Rule    12(c),     the   court

looks to whether the facts supporting the City‟s limitations

defense clearly appear on the face of the pleadings.                        The City‟s

affidavit is not part of the pleadings, and even if the passing

reference to the affidavit in the City‟s Answer (see Doc. 21

¶ 108)    were    construed    as    an   incorporation,         it    would   not     be

appropriate to consider the affidavit here, because it is not a

                                          23



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document central to Evans‟ claim.               See, e.g., Colonial Trading,

LLC v. Basset Furniture Indus., Inc., No. 5:09-CV-43, 2010 WL

5071174, at *2 (W.D.N.C. Dec. 7, 2010); Lefkoe, 2008 WL 7275126,

at *3-*5.       Moreover, “all allegations in the answer are deemed

denied,” because Plaintiffs were not required to reply to the

Answer.      Jadoff, 140 F.R.D. at 332.           Therefore, it is not clear

on the face of the pleadings that Evans‟ Charge was untimely,

and    the   City‟s     Rule   12(c)   motion    on    this   ground      cannot    be

granted.

        Moreover, even if it could be determined at this stage that

Evans was last barred from General Instructor School prior to

October 2004, the court could not dismiss his Title VII action

because he has alleged other grounds for it that the City has

not     disputed   as    to    timeliness.       For    example,     the    Amended

Complaint alleges that although Evans was the only black GPD

officer certified as a marksmanship instructor, Wray appointed

white officers, not Evans, as instructors at local community

colleges     and/or     the    Greensboro    Police    Academy,     and    that    had

Evans obtained one of these appointments, he would have been

compensated for his instruction.                (Doc. 4 ¶ 108.)           It is not

clear on the face of the pleadings that these appointments were

made more than 180 days before Evans filed his EEOC Charge.17


17
    Although not explicitly mentioned in Evans‟ Charge, this failure-
to-appoint   allegation  is   reasonably  related  to   the  Charge‟s

                                        24



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                       b.      Willie Parker

        Parker filed his Intake Questionnaire, deemed a Charge by

the EEOC, on May 5, 2006.18                (See Doc. 21, Ex. F at 22.)            In it

he alleged that “for no apparent reason my picture was being

shown     to    citizens       inquiring    about   my    involvement     in   illegal

activity.”          (Id. at 15.)      For example, the GPD allegedly showed

pictures       of     Parker    and   a   drug   dealer    to   someone    and    asked

whether Parker knew the drug dealer and hung out with him.                         (Id.

at 16.)         On the line of the Intake Questionnaire marked “Most

recent         date     of     alleged      harm    (that       you     believe     was

discrimination) to you,” Parker wrote “Summer/04.”                       (Id. at 15.)

The City argues that Parker‟s Charge was untimely, because it

was filed almost two years after “Summer/04.”                         Parker responds

that the scope of his Charge is broader than the specific dates

mentioned in it.

        In the Amended Complaint, Plaintiffs allege that Wray and

Brady directed subordinate officers to gather pictures of black



allegations that “[the Training Staff] did not want me to teach” and
“[a]ccording to some staff in the Training Staff I was lazy & only
wanted to become an instructor was [sic] to get out of working.”
(Doc. 21, Ex. B at 17-18.)      See Jones, 551 F.3d at 300 (“[T]hose
discrimination claims stated in the initial charge, those reasonably
related to the original complaint, and those developed by reasonable
investigation of the original complaint may be maintained in a
subsequent Title VII lawsuit.” (quoting Evans v. Techs. Applications &
Serv. Co., 80 F.3d 954, 963 (4th Cir. 1996))).
18
   As noted above, this is earlier than the filing dates of any of the
Charges filed by the twenty-four Plaintiffs who filed “formal”
Charges. See supra note 8.

                                            25



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GPD officers, including Plaintiffs, for line-up books and other

visual aids that were sometimes collectively called the “Black

Book.”     (See Doc. 4 ¶¶ 48-50.)             These materials were allegedly

shown to the general public and criminal suspects in an effort

to implicate black GPD officers in wrongdoing.                        (Id.)     Largely

on the basis of these allegations and the alleged pervasiveness

of rumors within the GPD about the “Black Book,” the court held

that Plaintiffs had plausibly stated hostile work environment

claims.     See Alexander, 2011 WL 13857, at *12-*14.                         The court

also held that it was not clear on the face of the Amended

Complaint when this alleged discrimination ended, but that it

was plausible from the Amended Complaint‟s allegations that it

lasted until early 2006.           See id. at *8.        Parker argues that his

claim should not be dismissed because these allegations fall

within the scope of his Charge and the Charge is timely as to

them.

     As applicable here, Title VII requires EEOC Charges to be

filed “within one hundred and eighty days after the alleged

unlawful    employment      practice     occurred.”         42   U.S.C.        § 2000e-

5(e)(1).     The    scope    of    a   Title   VII    action     is    not     strictly

limited by the scope of the preceding administrative Charge of

discrimination but encompasses “the scope of the administrative

investigation      that   can     reasonably    be    expected        to   follow   the

charge of discrimination.”             Chisholm v. U.S. Postal Serv., 665

                                         26



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F.2d 482, 491 (4th Cir. 1981).                “[T]hose discrimination claims

stated in the initial charge, those reasonably related to the

original        complaint,    and      those       developed          by      reasonable

investigation of the original complaint may be maintained in a

subsequent Title VII lawsuit.”               Jones, 551 F.3d at 300 (quoting

Evans v. Techs. Applications & Serv. Co., 80 F.3d 954, 963 (4th

Cir. 1996)).

        Here,    the   subject    matter      of     Plaintiffs‟       hostile       work

environment claim clearly falls within the scope of Parker‟s

Charge.         Both   the   claim     and     the    Charge     are        based    upon

allegations that Parker‟s photograph was shown to criminals and

suspects in an attempt to implicate him in wrongdoing.                              These

allegations are essentially the same and are thus “reasonably

related” to each other.

        The question is whether and to what extent the Chisholm

principle applies to the determination of timeliness.19                              Some

courts have held a plaintiff to the dates in his Charge where

discrete acts of discrimination were alleged.                    See, e.g., Zubek

v. City of Chicago, No. 04 C 5399, 2006 WL 1843396, at *1, *4

(N.D. Ill. July 5, 2006) (holding that the plaintiff, despite

alleging in his complaint the discriminatory denial of twenty

separate job applications, could pursue his Title VII claim only
19
    The City explicitly renounces any argument that Parker‟s answer of
“Summer/04” in his Charge placed his later-occurring allegations
outside the Charge‟s scope and thus deprived the court of jurisdiction
over them. (Doc. 38 at 8.)

                                        27



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as    to   those   denials   falling     within    the   dates     in    his   EEOC

Charge); cf. Fernando v. Rush-Presbyterian-St. Luke‟s Med. Ctr.,

882 F. Supp. 119, 122-23 (N.D. Ill. 1995) (denying motion to

dismiss       where    the        plaintiff‟s     allegations       of     racial

discrimination (racial slurs and the effective denial of the

opportunity to continue his medical residency) were reasonably

related to the EEOC Charge‟s allegation of disparate treatment,

but limiting the plaintiff‟s Title VII claim to the dates listed

in the Charge).

        The issue is narrower here, because the court considers

this question only in the context of a hostile work environment

claim, which is fundamentally different from claims of discrete

discriminatory acts.20       That is, where a plaintiff‟s EEOC Charge

alleges a hostile work environment over a specified time period

— a period preceding the Charge filing date by over 180 days —

but    his   complaint    alleges     “reasonably    related”      hostile     work

environment incidents occurring thereafter, must the lawsuit be

dismissed on the ground that the Charge is untimely?                       Parker

urges that the answer is “no,” although he cites no authority

and does not flesh out his argument.              The City argues that scope

and timeliness are very different issues and that the Charge‟s


20
     On his Intake Questionnaire, Parker checked “yes” when asked
whether he believed he was subjected to conduct that was “so
intimidating, hostile, or offensive that it interfered with [his] job
performance” (Doc. 21, Ex. F at 20), supporting a hostile work
environment claim.

                                        28



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timeliness must be determined based upon the dates in the Charge

alone.      But the City, like Parker, cites no authority, even

though it bears the burden of persuasion.

      The    court‟s          independent    research          reveals      at   least    one

federal     court       opinion    holding       that     a    plaintiff‟s       Title    VII

hostile     work    environment       claim       is     not   limited      to   the     dates

provided     in    the    EEOC     Charge.        See     Edwards      v.   Murphy-Brown,

L.L.C., 760 F. Supp. 2d 607, 625-26 (E.D. Va. 2011) (holding, in

the     hostile        work    environment        context,       that       discrimination

occurring before the dates alleged in the EEOC Charge was within

the scope of the Charge and could be alleged in the plaintiff‟s

complaint); cf. Alston v. Balt. Gas & Electric Co., No. 07-CV-

2237,    2008     WL    5428126,     at     *4    n.11    (D.    Md.     Dec.    31,   2008)

(rejecting the argument that plaintiff‟s discrimination claims

were limited by the earliest date stated in her EEOC Charge,

where the applicable limitations period extended even further

back).

      The court is not persuaded that Parker‟s Title VII claim

must be considered untimely because of the dates he stated in

his Intake Questionnaire, which constituted his Charge.                                There

are several reasons for this conclusion.                       First, it appears that

Parker completed his Intake Questionnaire without the aid of

counsel.     Courts should be careful not to hold unrepresented lay

persons in this context to too strict a standard because they

                                             29



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frequently do not appreciate the legal implications of how they

articulate their grievances.          See, e.g., Holowecki, 552 U.S. at

406 (“Documents filed by an employee with the EEOC should be

construed, to the extent consistent with permissible rules of

interpretation, to protect the employee‟s rights and statutory

remedies.”); cf. id. at 402-03 (“[Title VII] sets up a remedial

scheme in which laypersons, rather than lawyers, are expected to

initiate the process. . . .           The system must be accessible to

individuals   who    have    no   detailed      knowledge    of    the   relevant

statutory mechanisms and agency processes.” (citations omitted)

(internal quotation marks omitted)).

       Second, Parker‟s EEOC file, which the City urges the court

to construe as part of the pleadings,                 demonstrates that the

Commission during its investigation determined the dates of the

alleged hostile work environment to extend beyond those noted by

Parker (i.e., beyond “Summer/04”).           The EEOC‟s “Notice of Charge

of Discrimination” indicates that Parker alleged discrimination

lasting into 2006, within 180 days of his Charge.                  (See Doc. 21,

Ex. F at 12.)       It is unclear whether the EEOC determined this

date   based upon    facts disclosed in an Intake Interview with

Parker (see id. at 14) or through some other method pursuant to

its investigation.          Ordinarily, the EEOC would have assisted




                                      30



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Parker in the drafting of a “formal” Charge after an Intake

Interview was performed.21        (See id.)

        Third, the EEOC notified the City, through both the “Notice

of Charge of Discrimination” and the EEOC‟s subsequent request

for information from the City on “all sworn police officers for

the period of 1/1/04 thru 1/31/06” (id. at 5), that the relevant

period     extended    beyond     2004.22       The   EEOC     then     issued      a

determination that Parker‟s allegations had sufficient merit to

justify     conciliation     efforts,       specifically     pointing     to     the

“Black     Book”   allegations    later      incorporated    into     Plaintiffs‟

Amended Complaint.       (Id. at 7-8.)

        Fourth, Parker alleges a hostile work environment claim,

which by its nature allows acts outside a limitations period to

be considered pursuant to a “continuing violation” theory.                     See,

e.g., Morgan, 536 U.S. at 105 (“[C]onsideration of the entire

21
    See generally Edelman v. Lynchburg Coll., 535 U.S. 106, 115 n.9
(2002) (“The general practice of EEOC staff members is to prepare a
formal charge of discrimination for the complainant to review and to
verify, once the allegations have been clarified.”).
22
   Parker‟s situation is thus distinguishable from that in Tillbery v.
Kent Island Yacht Club, Inc., No. 09-CV-2956, 2010 WL 2292499 (D. Md.
June 4, 2010), in which the plaintiff‟s EEOC Charge, signed by the
plaintiff while she was represented by counsel, contained a mistaken
date, which had also been used in two earlier Intake Questionnaires.
See id. at *2, *5. Because of this mistaken date, the EEOC dismissed
the Charge as untimely and never conducted an investigation.     Id. at
*5-*6.   The court held that the plaintiff had not exhausted her
administrative remedies, because her EEOC submissions did not “alert[]
the agency to the possibility that the alleged harassment was ongoing
or occurred on a date other than [the mistaken one].” Id. at *6. As
a result, “the EEOC was not given the chance to investigate [the
plaintiff‟s]   allegations,  or  to   provide  [the   defendant]   with
sufficient notice of them.” Id. at *6 n.6.

                                        31



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scope of a hostile work environment claim, including behavior

alleged outside the statutory time period, is permissible for

the   purposes       of   assessing    liability,         so   long      as    an     act

contributing to that hostile environment takes place within the

statutory time period.”).         Here, the allegations in the Amended

Complaint      plausibly     provide     the    required          act    within     the

statutory time period.

      In light of all these factors, the court cannot say it is

clear on the face of the pleadings that Parker‟s EEOC Charge was

untimely.      Therefore, the City‟s Rule 12(c) motion on timeliness

grounds will be denied without prejudice.

              3.     Defense of Laches

      The City‟s final argument is that all Plaintiffs were not

diligent in pursuing their hostile work environment claims.                         The

City contends that it was prejudiced because it received notice

of Plaintiffs‟ claims only belatedly and thus was deprived of

the opportunity to remedy the alleged discrimination.                         The City

argues that Plaintiffs‟ claims are barred by laches as a result.

Plaintiffs respond that this defense is inappropriate at the

Rule 12(c) stage because it involves a fact-bound inquiry.

      “Employers      have   recourse    when       a   plaintiff       unreasonably

delays filing a charge.”           Morgan, 536 U.S. at 121.                   One such

remedy   is    the    equitable   defense      of       laches,      “which    bars     a

plaintiff from maintaining a suit if he unreasonably delays in

                                        32



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filing a suit and as a result harms the defendant.”                         Id.     This

defense “requires proof of (1) lack of diligence by the party

against whom the defense is asserted, and (2) prejudice to the

party asserting the defense.”             Id. at 121-22.            Such equitable

doctrines   “allow     [the   courts]    to    honor    Title       VII‟s    remedial

purpose without negating the particular purpose of the filing

requirement, to give prompt notice to the employer.”                     Id. at 121

(internal quotation marks omitted).                Laches is an affirmative

defense, however, see White v. Daniel, 909 F.2d 99, 102 (4th

Cir. 1990), so it may only be reached at the Rule 12(c) stage if

the facts necessary to deciding the issue clearly appear on the

face of the pleadings, see McQuade, 2011 WL 344091, at *3.

       The “City Legal Report” attached to the Amended Complaint

alleges that several black GPD officers met with the Interim

City    Manager   in    August     2005       to   discuss      alleged           racial

discrimination within the GPD.           (Doc. 4, Ex. A at 2.)               The City

Manager initiated an investigation that included interviews with

at least one dozen Plaintiffs.           (See id.)      The Amended Complaint

alleges, and the City‟s Answer admits, that the City hired Risk

Management Associates of Raleigh in November 2005 to conduct an

investigation of allegations of discrimination within the GPD.

(Doc. 4 ¶ 96; Doc. 21 ¶ 96.)        After this investigation, the City

accepted the resignations of Wray and Brady, according to the

Answer.     (See Doc. 21 ¶ 90.)          Thus, it is not clear from the

                                        33



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pleadings that the City lacked notice of Plaintiffs‟ allegations

until     May      2006   or    later,    as    the     City    argues,          and    had       no

opportunity         to    address     them    earlier.         Rather,       the       opposite

appears true.

        To   the    extent      the    City    argues    it    was        unaware      of    each

Plaintiff’s specific allegations, this does not clearly appear

in the uncontested facts in the pleadings.                            Nor is it clear,

absent       additional      facts,     that    Plaintiffs          did    not    diligently

pursue their claims, that any delay was unreasonable, or that

any delay so prejudiced the City as to require that the claims

be barred as a matter of equity.

        The City relies heavily on Faragher v. City of Boca Raton,

524 U.S. 775 (1998), which held that an employer is vicariously

liable for a hostile work environment “created by a supervisor

with     immediate        (or   successively        higher)         authority       over         the

employee.”          Id. at 807.          Faragher established an affirmative

defense,        however,        where     the      employer         establishes             by     a

preponderance of the evidence that it “exercised reasonable care

to prevent and correct promptly” any harassment and the employee

“unreasonably        failed      to    take    advantage       of    any    preventive            or

corrective opportunities provided by the employer or to avoid

harm otherwise.”23          Id.       The City argues that Plaintiffs‟ alleged


23
    Indest v. Freeman Decorating, Inc., 164 F.3d 258 (5th Cir. 1999)
(Jones, J.) (nonprecedential opinion for lack of concurrences), also

                                              34



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delay deprived it of the opportunity to address the alleged

discrimination and thus perhaps jeopardized its ability to make

use of the Faragher affirmative defense.                     It is not clear from

the pleadings, however, that the City has been deprived of a

potential      Faragher     defense    by    any    of     Plaintiffs‟       actions     or

omissions.24       Therefore, the City‟s motion for judgment on the

pleadings based on the affirmative defense of laches will be

denied       without   prejudice      to    the    City‟s    right      to   raise     the

defense later upon development of a factual record.

III. CONCLUSION

        For the reasons set forth above, therefore,

        IT   IS   ORDERED    that   Defendant        The    City   of    Greensboro‟s

motion for judgment on the pleadings pursuant to Federal Rule of

Civil Procedure 12(c) (Doc. 29) is DENIED.


                                                     /s/   Thomas D. Schroeder
                                                  United States District Judge

July 13, 2011




relied upon by the City, merely articulates                    a   variation     on    the
Faragher holding. See id. at 264-67.
24
    To the contrary, if the City‟s allegations are correct — namely,
that Plaintiffs unduly delayed in pursuing their rights, depriving the
City of notice of their alleged grievances, but that the City took
prompt corrective action once it learned of the allegations — the
City‟s potential Faragher defense may actually be enhanced.

                                            35



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